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                                         U.S. Department of Justice
[Type text]
                                         United States Attorney
                                         Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007

                                                                   The conference is adjourned, and time
                                                     July 27, 2023 is excluded, to August 23, 2023 at
                                                                   10:00 am.
BY ECF AND EMAIL
                                                                             SO ORDERED
The Honorable Alvin K. Hellerstein
United States District Judge                                                 /s/ Alvin K. Hellerstein
                                                                             U.S.D.J.
Southern District of New York                                                July 28, 2023
500 Pearl Street
New York, New York 10007

       Re:     United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

       The Government writes to respectfully request an adjournment of the next pretrial
conference in this case, which is currently scheduled for August 15, 2023 at 11:00 a.m. Both
Government counsel are unavailable to appear on August 15th.

       Both counsel for Javice and counsel for Amar have indicated that they are available, and
would consent to, an adjournment of the conference to August 23, 2023 and to the exclusion of
time under the Speedy Trial Act to that date.

       We understand from our communications with chambers that the Court is available on
September 20, 2023 at noon. The Government is available on August 23, 2023 or on September
20, 2023.

        Counsel for Amar has informed the Government that Amar consents to an adjournment to
September 20th and the exclusion of time until that date. Counsel for Javice has informed the
Government that Javice does not consent to an adjournment to a date in September. We have
inquired as to Javice’s position on an exclusion of time if the Court were to adjourn the conference
to a date in September but have not yet received a response.

       The Government respectfully requests that the Court exclude time under the Speedy Trial
Act until the next date set by the Court, pursuant to Title 18, United States Code, Section
3161(h)(7)(A). The Government submits that the exclusion of time best serves the ends of justice
and outweighs the best interests of the public and the defendants in a speedy trial as it will allow
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the defendants to continue to review the voluminous discovery produced by the Government and
to determine what pretrial motions, if any, to file.


                                           Respectfully submitted,

                                           DAMIAN WILLIAMS
                                           United States Attorney

                                     By:
                                           Dina McLeod
                                           Micah F. Fergenson
                                           Assistant United States Attorneys
                                           (212) 637-1040 / - 2190

cc: Counsel of record (by email and ECF)
